                                                                             1	   Margaret Simonian
                                                                                  DILLON & FINDLEY, P.C.
                                                                             2	   1049 W. 5th Avenue, Suite 200
                                                                                  Anchorage, AK 99501
                                                                             3	
                                                                                  Phone 277-5400
                                                                             4	   Fax   277-9896
                                                                                  Email: meg@dillonfindley.com
                                                                             5	   Attorneys for Plaintiff

                                                                             6	
                                                                                                      IN THE UNITED STATES DISTRICT COURT
                                                                             7	
                                                                                                    FOR THE DISTRICT OF ALASKA AT ANCHORAGE
                                                                             8	

                                                                             9	
                                                                                  EMMA NASH, as Personal             )
                                                                            10	   Representative of the              )
                                 TEL. (907) 277-5400 · FAX (907) 277-9896




                                                                                  ESTATE OF ELIZABETH NASH,          )
              DILLON & FINDLEY
                                    A PROFESSIONAL CORPORATION




                                                                            11	                                      )
                                        1049 W. 5th Avenue, Suite 200
                                          Anchorage, Alaska 99501




                                                                                                 Plaintiff,          )
                                                                            12	                                      )
LAW OFFICES




                                                                                  vs.                                )
                                                                            13	                                      )
                                                                                  UNITED STATES OF AMERICA;          )
                                                                            14	   ALASKA NATIVE TRIBAL HEALTH        )
                                                                                  CONSORTIUM d/b/a ALASKA NATIVE     )
                                                                            15	   MEDICAL CENTER; and                )
                                                                                  SHANNON PATRICK GARITTY, M.D.,     )
                                                                            16	                                      )
                                                                                                 Defendants.         )
                                                                            17	
                                                                                  ___________________________________)           Case No. 3:16-cv-00290-SLG
                                                                            18	

                                                                            19	                       PLAINTIFF’S FIRST AMENDED COMPLAINT

                                                                            20	
                                                                                          COMES plaintiff, through counsel, the law office of Dillon
                                                                            21	

                                                                            22	
                                                                                  &     Findley,   P.C.,   and   for   its   respective   causes       of   action,

                                                                            23	   alleges as follows:

                                                                            24	           1.    Plaintiff Emma Nash, the personal representative of
                                                                            25	   the Estate of Elizabeth Nash, brings this action on behalf of
                                                                            26    PL.’S FIRST AMENDED COMPLAINT
                                                                                  Emma Nash, et al. v. USA, ANMC and Shannon Patrick Garitty, M.D.
                                                                                  Case No. 3:16-cv-00290-SLG
                                                                                  Page 1 of 12
                                                                                      Case 3:16-cv-00290-SLG Document 24 Filed 05/23/17 Page 1 of 12
                                                                             1	   the Estate of Elizabeth Nash.               Elizabeth Nash was during all
                                                                             2	   relevant times herein, a resident of Point Hope, Alaska.
                                                                             3	
                                                                                        2.     This cause of action arises under the Federal Tort
                                                                             4	
                                                                                  Claims Act 28 U.S.C. § 1346, 2401 and 2671 et seq.
                                                                             5	
                                                                                        3.     This complaint alleges negligence on the part of the
                                                                             6	
                                                                                  Alaska     Native    Tribal    Health    Consortium     d/b/a     Alaska     Native
                                                                             7	

                                                                             8	
                                                                                  Medical    Center;    Ryan    R.   Gerry,   MD;   Shannon    Patrick    Garitty,

                                                                             9	   M.D.; Kathryn A. Lewis, RN; Kim Derr-Oberlies, RN; and Jennifer

                                                                            10	   M. Vaden, CNA.
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                                                                            11	
                                                                                        4.     Alaska Native Tribal Health Consortium d/b/a Alaska
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                                          Anchorage, Alaska 99501




                                                                            12	
LAW OFFICES




                                                                                  Native Medical Center (“Alaska Native Medical Center”) during
                                                                            13	
                                                                                  all   relevant      times     alleged    herein   was      part   of   the     U.S.
                                                                            14	
                                                                                  Department of Health & Human Services (“DHHS”) and/or operating
                                                                            15	
                                                                                  under a contract with the DHHS.                Therefore, under 25 U.S.C.
                                                                            16	

                                                                            17	   § 450f, the United States is the proper defendant concerning

                                                                            18	   allegations    of    negligence     on   the   part   of    the   Alaska     Native
                                                                            19	   Medical Center.
                                                                            20	
                                                                                        5.     Ryan R. Gerry, M.D. is a medical doctor licensed by
                                                                            21	
                                                                                  the State of Alaska and was employed by or an agent of the
                                                                            22	
                                                                                  Alaska Native Medical Center, during all relevant times alleged
                                                                            23	
                                                                                  herein, as admitted by the U.S. Government’s Certification at
                                                                            24	

                                                                            25	
                                                                                  Docket 3.

                                                                            26    PL.’S FIRST AMENDED COMPLAINT
                                                                                  Emma Nash, et al. v. USA, ANMC and Shannon Patrick Garitty, M.D.
                                                                                  Case No. 3:16-cv-00290-SLG
                                                                                  Page 2 of 12
                                                                                   Case 3:16-cv-00290-SLG Document 24 Filed 05/23/17 Page 2 of 12
                                                                             1	         6.    Kathryn A. Lewis, R.N. is a registered nurse licensed
                                                                             2	   by the State of Alaska and was employed by or an agent of the
                                                                             3	
                                                                                  Alaska Native Medical Center, during all relevant times alleged
                                                                             4	
                                                                                  herein, as admitted by the U.S. Government’s Certification at
                                                                             5	
                                                                                  Docket 3.
                                                                             6	
                                                                                        7.    Kim Derr-Oberlies, R.N. is a registered nurse licensed
                                                                             7	

                                                                             8	
                                                                                  by the State of Alaska and was employed by or an agent of the

                                                                             9	   Alaska Native Medical Center, during all relevant times alleged

                                                                            10	   herein, as admitted by the U.S. Government’s Certification at
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                                                                            11	
                                                                                  Docket 3.
                                        1049 W. 5th Avenue, Suite 200
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                                                                            12	
LAW OFFICES




                                                                                        8.    Jennifer M. Vaden, C.N.A. is a certified nurse aide
                                                                            13	
                                                                                  licensed by the State of Alaska and was employed by or an agent
                                                                            14	
                                                                                  of the Alaska Native Medical Center, during all relevant times
                                                                            15	
                                                                                  alleged     herein,     as   admitted     by    the    U.S.    Government’s
                                                                            16	

                                                                            17	   Certification at Docket 3.

                                                                            18	         9.    Defendant Shannon Patrick Garitty, M.D. is a medical
                                                                            19	   doctor who was in a resident program sponsored by the Alaska
                                                                            20	
                                                                                  Native Medical Center according to licensing by the State of
                                                                            21	
                                                                                  Alaska and has been, during all relevant times alleged herein, a
                                                                            22	
                                                                                  resident of Anchorage, Alaska.
                                                                            23	
                                                                                        10.   On or about October 12, 2016, the claims set forth
                                                                            24	

                                                                            25	
                                                                                  herein were presented to the DHHS.          Since that agency has failed

                                                                            26    PL.’S FIRST AMENDED COMPLAINT
                                                                                  Emma Nash, et al. v. USA, ANMC and Shannon Patrick Garitty, M.D.
                                                                                  Case No. 3:16-cv-00290-SLG
                                                                                  Page 3 of 12
                                                                                   Case 3:16-cv-00290-SLG Document 24 Filed 05/23/17 Page 3 of 12
                                                                             1	   to make a final disposition of the claim within the six month
                                                                             2	   time period, plaintiff deems such failure to be a denial of its
                                                                             3	
                                                                                  claims pursuant to 28 U.S.C. § 2675.
                                                                             4	
                                                                                                              FACTUAL BACKGROUND
                                                                             5	
                                                                                        11.   On October 17, 2014, Elizabeth Nash was t-boned by a
                                                                             6	
                                                                                  midsized SUV that ran a stop sign while riding in a taxi with
                                                                             7	

                                                                             8	
                                                                                  her daughter and grandson.            The cab was significantly damaged.

                                                                             9	   All three were transported to Alaska Native Medical Center by

                                                                            10	   ambulance; Ms. Nash arrived at about 8:08 p.m.
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                                                                            11	
                                                                                        12.   The triage record described the motor vehicle crash as
                                        1049 W. 5th Avenue, Suite 200
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                                                                            12	
LAW OFFICES




                                                                                  major.
                                                                            13	
                                                                                        13.   Portable    chest       and   pelvis      x-rays    taken   at   about
                                                                            14	
                                                                                  8:35 p.m. revealed rib fractures on the right said with a right
                                                                            15	
                                                                                  side apical pneumothorax, and right radius fracture of her arm.
                                                                            16	

                                                                            17	   Ms. Nash was given an intravenous morphine drip for her pain.

                                                                            18	         14.   After   arrival     a    series    of     tests    were   ordered   for
                                                                            19	   Ms. Nash, including CT of her head, spine, abdomen and pelvis,
                                                                            20	
                                                                                  but then cancelled.      These tests were never performed.
                                                                            21	
                                                                                        15.   Ms. Nash had significantly elevated blood pressures
                                                                            22	
                                                                                  during her ambulance transport.               Her initial blood pressure at
                                                                            23	
                                                                                  the   Alaska   Native    Medical      Center    was    hypotensive      at   95/64.
                                                                            24	

                                                                            25	
                                                                                  After that her blood pressures were consistently hypertensive.

                                                                            26    PL.’S FIRST AMENDED COMPLAINT
                                                                                  Emma Nash, et al. v. USA, ANMC and Shannon Patrick Garitty, M.D.
                                                                                  Case No. 3:16-cv-00290-SLG
                                                                                  Page 4 of 12
                                                                                   Case 3:16-cv-00290-SLG Document 24 Filed 05/23/17 Page 4 of 12
                                                                             1	   Including pressures like 172/112.             Ms. Nash had a respiratory
                                                                             2	   rate of 20 and she was experiencing intermittent tachycardia.
                                                                             3	
                                                                                        16.    Ms.    Nash   was   examined   by   a    resident,     Dr.    Shannon
                                                                             4	
                                                                                  Patrick Garitty, and Dr. Ryan Gerry.             Dr. Garitty and Dr. Ryan’s
                                                                             5	
                                                                                  dictated note acknowledge the fractures detected by the plain
                                                                             6	
                                                                                  film x-rays, and determined there was no respiratory compromise.
                                                                             7	

                                                                             8	
                                                                                  There was a decision to admit for observation.                    That note was

                                                                             9	   dictated at 9:48 p.m., with vitals taken at 8:43 p.m.

                                                                            10	         17.    Ms. Nash remained in the emergency room.                      She was
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                                                                            11	
                                                                                  periodically checked by nurses.            Ms. Nash’s vital signs remained
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                                                                            12	
LAW OFFICES




                                                                                  concerning.        At 9:42 p.m., Ms. Nash developed a fever and was
                                                                            13	
                                                                                  given acetaminophen.         At 11:00 p.m., Ms. Nash was tachycardic
                                                                            14	
                                                                                  with a heart rate of 104, an elevated respiratory rate of 24,
                                                                            15	
                                                                                  and a BP of 163/96.         At midnight, she was noted to have a cough
                                                                            16	

                                                                            17	   with secretions and she remained on oxygen with 6 to 2 liters of

                                                                            18	   oxygen   during     this   time.     Her    vitals    were   next    checked     at
                                                                            19	   1:00 a.m. when Ms. Nash remained tachycardic, her respiratory
                                                                            20	
                                                                                  rate worsened from 24 to 28, her blood pressure worsened to
                                                                            21	
                                                                                  168/110.     The last recorded vital signs were taken at 1:00 a.m.
                                                                            22	
                                                                                  Ms.   Nash   was    also   experiencing     nausea.      Ms.   Nash       was   also
                                                                            23	
                                                                                  receiving I.V. fluids.
                                                                            24	

                                                                            25	

                                                                            26    PL.’S FIRST AMENDED COMPLAINT
                                                                                  Emma Nash, et al. v. USA, ANMC and Shannon Patrick Garitty, M.D.
                                                                                  Case No. 3:16-cv-00290-SLG
                                                                                  Page 5 of 12
                                                                                   Case 3:16-cv-00290-SLG Document 24 Filed 05/23/17 Page 5 of 12
                                                                             1	         18.    At     some     point         around     2:00     a.m.        the    resident,
                                                                             2	   Dr. Garitty, provided more orders, including a CBC and chemical
                                                                             3	
                                                                                  blood   work      panel,     and    anti-nausea       medication.            There      is    no
                                                                             4	
                                                                                  documentation supporting why Dr. Garitty made these new orders.
                                                                             5	
                                                                                  There is no documentation that Dr. Garitty evaluated Ms. Nash
                                                                             6	
                                                                                  before amending the order.                 There is no documentation that the
                                                                             7	

                                                                             8	
                                                                                  nurses communicated with Dr. Garitty at this time.

                                                                             9	         19.    Ms.    Nash’s        blood    work     came    back     at    2:11    a.m.      and

                                                                            10	   showed a marked increase in her white blood cell count from
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                                                                            11	
                                                                                  results     received       after     she    arrived        earlier    in    the    evening.
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                                                                            12	
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                                                                                  There were also other concerning and worsening results from her
                                                                            13	
                                                                                  previous panel.
                                                                            14	
                                                                                        20.    At 3:15 a.m., nurse Kim E. Derr-Oberlies approached
                                                                            15	
                                                                                  Ms. Nash and found her unresponsive.
                                                                            16	

                                                                            17	         21.    A code was called and resuscitation was attempted for

                                                                            18	   16 minutes.        Ms. Nash remained asystole the entire time.                               She
                                                                            19	   was pronounced dead at 3:31 a.m.
                                                                            20	
                                                                                        22.    There     are    two     nursing       notes     entered      by     Ms.   Derr-
                                                                            21	
                                                                                  Oberlies     relating        to    Ms.     Nash.       Both     were       entered      after
                                                                            22	
                                                                                  Ms. Nash’s death, one at 5:10 a.m. and an amendment at 5:42 a.m.
                                                                            23	
                                                                                  In those notes, Ms. Derr-Oberlies documents events that were not
                                                                            24	

                                                                            25	
                                                                                  documented before Ms. Nash’s death.                   Ms. Derr-Oberlies documents

                                                                            26    PL.’S FIRST AMENDED COMPLAINT
                                                                                  Emma Nash, et al. v. USA, ANMC and Shannon Patrick Garitty, M.D.
                                                                                  Case No. 3:16-cv-00290-SLG
                                                                                  Page 6 of 12
                                                                                   Case 3:16-cv-00290-SLG Document 24 Filed 05/23/17 Page 6 of 12
                                                                             1	   that Ms. Nash vomited “@300,” which appears to be a typo, and
                                                                             2	   she   documents      providing    anti-nausea     medication      at    2:18    a.m.
                                                                             3	
                                                                                  Ms. Derr-Oberlies documents calling Dr. Garitty at 2:30 a.m. “to
                                                                             4	
                                                                                  inform him of the patient’s high blood pressure of 168/110 and
                                                                             5	
                                                                                  168/111 to which he ordered a one time dose of Metorpolol [sic]
                                                                             6	
                                                                                  5 mg IVP, once Pharmacy had cleared the medicaiton [sic], I
                                                                             7	

                                                                             8	
                                                                                  approached         the     patient       at      0315     and         found         her

                                                                             9	   unresponsive . . . .”

                                                                            10	         23.    Ms.    Derr-Oberlies      also   documents    that    a    different
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                                                                            11	
                                                                                  nurse, Karl Wade, went into his patient’s room at 3:54 a.m. to
                                        1049 W. 5th Avenue, Suite 200
                                          Anchorage, Alaska 99501




                                                                            12	
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                                                                                  give them medication and heard Ms. Nash cough.
                                                                            13	
                                                                                        24.    Ms. Nash was unresponsive from 3:15 a.m. until she was
                                                                            14	
                                                                                  pronounced dead at 3:31 a.m.
                                                                            15	
                                                                                        25.    Thirty-two      minutes   later,    Ms.    Derr-Oberlies       amended
                                                                            16	

                                                                            17	   this entry to say Mr. Wade was in his patient’s room and heard

                                                                            18	   Ms. Nash cough at 2:54 a.m.
                                                                            19	         26.    An    autopsy    revealed   that    Ms.    Nash    had    an     aortic
                                                                            20	
                                                                                  dissection        that   caused   a    cardiac     tamponade      which        is    a
                                                                            21	
                                                                                  consequence of the blunt trauma she experienced in the motor
                                                                            22	
                                                                                  vehicle crash.
                                                                            23	

                                                                            24	

                                                                            25	

                                                                            26    PL.’S FIRST AMENDED COMPLAINT
                                                                                  Emma Nash, et al. v. USA, ANMC and Shannon Patrick Garitty, M.D.
                                                                                  Case No. 3:16-cv-00290-SLG
                                                                                  Page 7 of 12
                                                                                   Case 3:16-cv-00290-SLG Document 24 Filed 05/23/17 Page 7 of 12
                                                                             1	                                      COUNT I

                                                                             2	         Plaintiff re-alleges paragraphs 1 through 26 as if fully
                                                                             3	
                                                                                  set forth herein, and further alleges as follows:
                                                                             4	
                                                                                        27.   Federal employee Ryan R. Gerry, M.D. owed a duty to
                                                                             5	
                                                                                  plaintiff Elizabeth Nash to assess, diagnose and treat her after
                                                                             6	
                                                                                  a major motor vehicle accident with the degree of care and/or
                                                                             7	

                                                                             8	
                                                                                  knowledge    or   skill   possessed      by   or   ordinarily      exercised   by

                                                                             9	   medical doctors trained or experienced in the field of emergency

                                                                            10	   medicine.
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                                                                            11	
                                                                                        28.   Dr. Gerry either lacked the degree of knowledge or
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                                                                            12	
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                                                                                  skill or failed to exercise the degree of care possessed by or
                                                                            13	
                                                                                  ordinarily exercised by medical doctors trained or experienced
                                                                            14	
                                                                                  in the field of emergency medicine and acted in a negligent
                                                                            15	
                                                                                  and/or   reckless    manner   in   the    care     provided   to    Ms. Nash   as
                                                                            16	

                                                                            17	   described above.

                                                                            18	         29.   Dr.   Gerry    negligently        and/or   recklessly      provided
                                                                            19	   emergency care to Ms. Nash, which was a cause of her death.
                                                                            20	
                                                                                                                     COUNT II
                                                                            21	
                                                                                        Plaintiff re-alleges paragraphs 1 through 29 as if fully
                                                                            22	
                                                                                  set forth herein, and further alleges as follows:
                                                                            23	
                                                                                        30.   Defendant Shannon Patrick Garitty, M.D. owed a duty to
                                                                            24	

                                                                            25	
                                                                                  plaintiff Elizabeth Nash to assess, diagnose and treat her after

                                                                            26    PL.’S FIRST AMENDED COMPLAINT
                                                                                  Emma Nash, et al. v. USA, ANMC and Shannon Patrick Garitty, M.D.
                                                                                  Case No. 3:16-cv-00290-SLG
                                                                                  Page 8 of 12
                                                                                   Case 3:16-cv-00290-SLG Document 24 Filed 05/23/17 Page 8 of 12
                                                                             1	   a major motor vehicle accident with the degree of care and/or
                                                                             2	   knowledge       or    skill      possessed         by    or    ordinarily       exercised      by
                                                                             3	
                                                                                  medical doctors trained or experienced in the field of emergency
                                                                             4	
                                                                                  medicine.
                                                                             5	
                                                                                        31.       Dr. Garitty either lacked the degree of knowledge or
                                                                             6	
                                                                                  skill or failed to exercise the degree of care possessed by or
                                                                             7	

                                                                             8	
                                                                                  ordinarily exercised by medical doctors trained or experienced

                                                                             9	   in the field of emergency medicine and acted in a negligent

                                                                            10	   and/or    reckless        manner       in    his    care       provided    to    Ms. Nash      as
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                                                                            11	
                                                                                  described above.
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                                                                            12	
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                                                                                        32.       Dr.   Garitty      negligently            and/or    recklessly         provided
                                                                            13	
                                                                                  emergency care to Ms. Nash, which was a cause of her death.
                                                                            14	
                                                                                                                              COUNT III
                                                                            15	
                                                                                        Plaintiff re-alleges paragraphs 1 through 32 as if fully
                                                                            16	

                                                                            17	   set forth herein, and further alleges as follows:

                                                                            18	         33.       Federal    employee          healthcare         providers,       Kathryn       A.
                                                                            19	   Lewis, R.N., Kim Derr-Oberlies, R.N., and Jennifer M. Vaden,
                                                                            20	
                                                                                  C.N.A.,     owed      a   duty    to    plaintiff         Elizabeth       Nash    to    assess,
                                                                            21	
                                                                                  monitor,    communicate          Ms.    Nash’s          condition   to     the   appropriate
                                                                            22	
                                                                                  healthcare       provider,       and    treat       Ms. Nash’s      condition          with   the
                                                                            23	
                                                                                  degree     of    care     and/or       knowledge          or    skill     possessed      by    or
                                                                            24	

                                                                            25	

                                                                            26    PL.’S FIRST AMENDED COMPLAINT
                                                                                  Emma Nash, et al. v. USA, ANMC and Shannon Patrick Garitty, M.D.
                                                                                  Case No. 3:16-cv-00290-SLG
                                                                                  Page 9 of 12
                                                                                   Case 3:16-cv-00290-SLG Document 24 Filed 05/23/17 Page 9 of 12
                                                                             1	   ordinarily exercised by nurses or healthcare providers trained
                                                                             2	   or experienced in the field of emergency medicine.
                                                                             3	
                                                                                        34.   Federal      employee       healthcare     providers,        Kathryn   A.
                                                                             4	
                                                                                  Lewis, R.N., Kim Derr-Oberlies, R.N., and Jennifer M. Vaden,
                                                                             5	
                                                                                  C.N.A., either lacked the degree of knowledge or skill or failed
                                                                             6	
                                                                                  to   exercise      the   degree    of    care    possessed   by     or    ordinarily
                                                                             7	

                                                                             8	
                                                                                  exercised     by     nurses       or    healthcare     providers         trained   or

                                                                             9	   experienced in the field of emergency medicine and acted in a

                                                                            10	   negligent    and/or      reckless       manner    in   the   care    provided      to
                                 TEL. (907) 277-5400 · FAX (907) 277-9896
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                                                                            11	
                                                                                  Ms. Nash as described above.
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                                                                            12	
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                                                                                        35.   Federal      employee       healthcare     providers,        Kathryn   A.
                                                                            13	
                                                                                  Lewis, R.N., Kim Derr-Oberlies, R.N., and Jennifer M. Vaden,
                                                                            14	
                                                                                  C.N.A., negligently and/or recklessly provided emergency care to
                                                                            15	
                                                                                  Ms. Nash, which was a cause of her death.
                                                                            16	

                                                                            17	                                            COUNT IV

                                                                            18	         Plaintiff re-alleges paragraphs 1 through 35 as if fully
                                                                            19	   set forth herein, and further alleges as follows:
                                                                            20	
                                                                                        36.   Alaska Native Medical Center and Dr. Ryan Gerry owed a
                                                                            21	
                                                                                  duty to plaintiff Elizabeth Nash to properly supervise, train,
                                                                            22	
                                                                                  and/or oversee the treatment provided by Dr. Shannon P. Garitty
                                                                            23	
                                                                                  while acting as a resident at the Alaska Native Medical Center
                                                                            24	

                                                                            25	
                                                                                  as either an employee, borrowed servant, dual employee or agent.

                                                                            26    PL.’S FIRST AMENDED COMPLAINT
                                                                                  Emma Nash, et al. v. USA, ANMC and Shannon Patrick Garitty, M.D.
                                                                                  Case No. 3:16-cv-00290-SLG
                                                                                  Page 10 of 12
                                                                                   Case 3:16-cv-00290-SLG Document 24 Filed 05/23/17 Page 10 of 12
                                                                             1	           37.    Alaska Native Medical Center and/or Dr. Gerry failed
                                                                             2	   to    properly      supervise,        train    and/or   oversee     the    treatment
                                                                             3	
                                                                                  provided       by   Dr.   Garitty.        That      failure   proximately     caused
                                                                             4	
                                                                                  Ms. Nash’s death.
                                                                             5	
                                                                                          WHEREFORE, plaintiff prays for relief as follows:
                                                                             6	
                                                                                          1.     For compensatory damages, in excess of $100,000.00,
                                                                             7	

                                                                             8	
                                                                                  the   exact     amount    to    be    proven   at   trial,    including,    but    not

                                                                             9	   limited to, compensation for the wrongful death of Elizabeth

                                                                            10	   Nash;    for    economic       and    noneconomic    losses    to   the   Estate    of
                                 TEL. (907) 277-5400 · FAX (907) 277-9896
              DILLON & FINDLEY
                                    A PROFESSIONAL CORPORATION




                                                                            11	
                                                                                  Elizabeth Nash, including compensation for pain and suffering
                                        1049 W. 5th Avenue, Suite 200
                                          Anchorage, Alaska 99501




                                                                            12	
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                                                                                  experienced, loss of services, and for loss of enjoyment of
                                                                            13	
                                                                                  life;
                                                                            14	
                                                                                          2.     For costs, attorney’s fees, and pre-judgment interest;
                                                                            15	
                                                                                  and
                                                                            16	

                                                                            17	           3.     For such other and further relief as the Court deems

                                                                            18	   just and proper.
                                                                            19	           DATED this 23rd day of May 2017, at Anchorage, Alaska.
                                                                            20	
                                                                                                                       DILLON & FINDLEY, P.C.
                                                                            21	
                                                                                                                       Attorneys for Plaintiff

                                                                            22	
                                                                                                                       By: s/Margaret Simonian        __
                                                                                                                          Margaret Simonian, ABA No. 9901001
                                                                            23	
                                                                                                                          1049 W. 5th Avenue, Suite 200
                                                                                                                          Anchorage, Alaska 99501
                                                                            24	
                                                                                                                          Phone: 277-5400
                                                                                                                          Fax:    277-9896
                                                                            25	
                                                                                                                          Email: meg@dillonfindley.com

                                                                            26    PL.’S FIRST AMENDED COMPLAINT
                                                                                  Emma Nash, et al. v. USA, ANMC and Shannon Patrick Garitty, M.D.
                                                                                  Case No. 3:16-cv-00290-SLG
                                                                                  Page 11 of 12
                                                                                   Case 3:16-cv-00290-SLG Document 24 Filed 05/23/17 Page 11 of 12
                                                                             1	
                                                                                  CERTIFICATE OF SERVICE
                                                                             2	
                                                                                  I hereby certify that on May 23, 2017 a
                                                                             3	   copy of the foregoing Plaintiff’s First
                                                                                  Amended     Complaint    was     served
                                                                             4	   electronically   through   the   CM/ECF
                                                                                  system on John A. Fonstad and John J.
                                                                             5	   Tiemessen.

                                                                             6	
                                                                                  s/Margaret Simonian
                                                                             7	

                                                                             8	

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                                 TEL. (907) 277-5400 · FAX (907) 277-9896
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                                          Anchorage, Alaska 99501




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                                                                            26    PL.’S FIRST AMENDED COMPLAINT
                                                                                  Emma Nash, et al. v. USA, ANMC and Shannon Patrick Garitty, M.D.
                                                                                  Case No. 3:16-cv-00290-SLG
                                                                                  Page 12 of 12
                                                                                   Case 3:16-cv-00290-SLG Document 24 Filed 05/23/17 Page 12 of 12
